SOUTHERN DISTRICT OF MISSISSIPPI

FILED

MAR —4 2024
CRIMINAL CASE COVER SHEET
U.S. District Court ee ai
PLACE OF OFFENSE:

RELATED CASE INFORMATION:

Ciry: Pear! SUPERSEDING INDICTMENT sd DOCKET #u. aie ‘2 Y-Cyr )- QP FF A S
SAME DEFENDANT ~NEW DEFENDANT
County: Rankin MAGISTRATE JUDGE CASE NUMBER

R 20/ R 40 FROM DISTRICT OF

DEFENDANT INFORMATION:

JUVENILE: YES X__ NO

MATTER TO BE SEALED: _X _ YES NO

NAME/ALIAS: MICHAEL CHRISTIAN GREEN

U.S. ATTORNEY INFORMATION:

AUSA Sam Goff BAR #MS 105813

INTERPRETER: X_ NO YES LIST LANGUAGE AND/OR DIALECT:

LOCATION STATUS: ARREST DATE

ALREADY IN FEDERAL CUSTODY AS OF
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE

U.S.C. CITATIONS

TOTAL # OF COUNTS: 1 PETTY 1 MISDEMEANOR FELONY

(CLERK'S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)

Set | 18:242.M 18 U.S.C § 242 deprivation of civil rights 1

Set 3

Set 4

Set 5

SIGNATURE OF AUSA: SEPA fH

YO

Revised 9/22/2020
